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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                      :
:
             v.                               : CASE NO. 21-cr-626 (PLF)
:
DEREK COOPER GUNBY,                           :
:

                    Defendant.                :


DEFENDANT GUNBY’S REPLY TO THE UNITED STATES’ OPPOSITION
REGARDING GUNBY’S MOTION TO DISMISS ON FIRST AMENDMENT
GROUNDS (ECF 41)
      Defendant Derek Cooper Gunby, by counsel John Pierce, esq., hereby

replies to the government’s opposition (ECF 41) to Gunby’s Motion to dismiss on

first amendment grounds (ECF 35).

      The government begins its pleading with another recounting of Gunby’s

alleged acts: posting photographs on Facebook of himself in D.C. and entering the

Capitol through what is known as the Senate Parliamentarian Door. The

government’s statement of facts says “The CCTV video shows [Gunby] walking

down a hallway, and after a few minutes, he turns around and exits through the

same door” as part of the Jan. 6 demonstration.

      Like many thousands of others, Gunby came to Washington, D.C. on

January 6 to (in his own words) “protest the stealing of the votes, of the election in
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this country.” The facts—taken in their worst light—show Gunby “entering the

Capitol through what is known as the Senate Parliamentarian Door [and] walking

down a hallway, and after a few minutes, he turns around and exits through the

same door.”

      Like many others, Gunby combined his presence at the Capitol on Jan. 6

with social media statements and posts. In Gunby’s case, each and every one of

Gunby’s posts expressed Gunby’s grievances with the election, the state of

American governance, and contemporary politics. Late on Jan.6, Gunby posted

further statements on Facebook indicating that he and thousands of others “all

pretty much surrounded the Capitol.” In Gunby’s own words (as stated by the

prosecution) “We are at a point now in this country where they’re going to listen to

us. They have to listen to us.”

      All of these statements and expressions are political speech, protected by the

First Amendment.

       GUNBY CANNOT BE PROSECUTED FOR PROTESTING AMIDST
              OTHERS WHO COMMITTED CRIMES
      The law is clear that "[t]he right to associate does not lose all constitutional

protection merely because some members of the group may have participated in

conduct or advocated doctrine that itself is not protected." N.A.A.C.P. v. Claiborne

Hardware Co., 458 U.S. 886, 908 (1992). “Specifically, the presence of activity
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protected by the First Amendment imposes restraints . . . on the persons who may

be held accountable ...." Id. at 916-17. If a person is to be punished for his

association with those who engaged in vandalism, there must be “clear proof that

... [he] specifically intend[ed] to accomplish [the aims of the protest] by resort to

violence.” Scales v. United States, 367 U.S. 203, 229 (1961). Under Supreme

Court precedent, a peaceful political protester may not be punished for failing to

cease his protected activity simply because others associated with the assembly

may have committed illegal acts.

         The government cites this Court’s ruling in Bynum v. U.S. Capitol Police

Bd., 93 F. Supp. 2d 50, 56 (D.D.C. 2000) (Friedman, J.); “the inside of the United

States Capitol is a nonpublic forum for First Amendment forum analysis

purposes.” But Bynum held that nondisruptive organized prayer sessions may be

held in the halls of the Capitol, and that thus there are some low-level First

Amendment rights for visitors to the interior of the Capitol. Citizens cannot be

totally silenced and deprived of their rights to speak, advocate and persuade in the

halls.

         Indeed, the Capitol is an immense, working office building, meeting place

and gathering place for hundreds of people (in addition to members of Congress

meeting in the chambers) on a daily basis. People have a right to speak their minds

in the hallways.
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      In effect, this Court in Bynum added an additional element to the offenses of

“picketing and parading” in the Capitol, “disorderly conduct” in the Capitol, and

“entering and remaining” in the Capitol: the government must prove beyond a

reasonable doubt that a person practicing First Amendment-protected advocacy in

the hallways was acting in a loud, disruptive manner. As a matter of precedent,

this Court found that low-volume organized prayer sessions in Capitol hallways do

indeed enjoy some level of First Amendment protection.

      Nothing in the government’s statement of facts regarding Gunby indicates

Gunby behaved outrageously, loudly, or violently. Walking and turning around in

a hallway and then posting about it on Facebook is not a crime.

      Finally, the government claims that “Gunby’s First Amendment claims are

premature because they require an analysis of Gunby’s conduct, which is not

before the Court at this stage in this case.” But everything in the government’s

statement of facts about Gunby illustrates that Gunby’s January 6 activities were

First-Amendment-protected protest and advocacy.

      Thus, nothing in the information and statement of facts alleges any conduct

by Gunby except conduct which is protected by the speech and petition clauses of

the First Amendment. ACCORDINGLY, the case against Gunby must be

dismissed.
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Dated: November 08, 2022
                                      Respectfully submitted,

                                       /s/ John M. Pierce
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                         CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, November 08, 2022, I caused
a copy of the foregoing document to be served on all counsel through the
Court’s CM/ECF case filing system.




                             /s/ John M. Pierce
                             John M. Pierce
